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                           SO ORDERED: March 16, 2012.




                           ______________________________
                           Basil H. Lorch III
                           United States Bankruptcy Judge




                      IN THE UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF INDIANA
                                NEW ALBANY DIVISION

 IN RE:                                            )      Chapter 11
                                                   )
 EASTERN LIVESTOCK CO., LLC,                       )      Case No. 10-93904-BHL-11
                                                   )
                       Debtor.                     )      Hon. Basil H. Lorch III

   ORDER GRANTING MOTION FOR ORDER APPROVING PROPOSED AUCTION
      SALE OF REAL ESTATE FREE AND CLEAR OF LIENS, CLAIMS AND
              ENCUMBRANCES PURSUANT TO 11 U.S.C. § 363

          This matter is before the Court on the Motion for Order Approving Proposed Auction

 Sale of Real Estate Free and Clear of Liens, Claims and Encumbrances Pursuant to 11 U.S.C. §

 363 [Dock. No. 1046] (the "Motion") filed by James A. Knauer, chapter 11 trustee ("Trustee") in

 the above-captioned case ("Chapter 11 Case"). The Court finds that i) the Trustee has given due

 and proper notice of the Motion, ii) all interested parties were given due and adequate

 opportunity to be heard at the hearing on the Motion and iii) the Court has jurisdiction over this

 core proceeding. Therefore,

          IT IS HEREBY ORDERED that:

          1.    The Trustee's Motion is granted.
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            2.       The Trustee is authorized to enter into the Agreement1 and sell all of Eastern

 Livestock Co., LLC's right, title and interest in and to the Real Estate to the highest bidder, free

 and clear of all liens, claims, interests and encumbrances, with such liens, claims, interests and

 encumbrances to attach to the proceeds of such sale, in accordance with the terms of the

 Settlement Agreement.

            3.       The Trustee is authorized to take such actions and execute and deliver such

 instruments, agreements and documents as are necessary to convey Eastern Livestock Co., LLC's

 interests in the Real Estate to the winning bidder at the auction.

                                                           ###




 1
     All capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
